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                                                                                        SFP -82013
           3                                                                           SUSAN Y.SOONG
                                                                                          U.S. DISTRICT CX)URT
           4                                  UNITED STATES DISTRICT                   IN DISTRICT OF CALIFORNIA

           5                                NORTHERN DISTRICT OF CALIFORNIA

           6

           7
                UNITED STATES OF AMERICA,                            Case No. 18-mj-71297 EDL
                               Plaintiff,
           8
                                                                     Charging District's Case No.
                         V.
           9
                                                                     2:17-cr-232 GEB

           10    BAR SHANI,

                                Defendant.
           11
                                            COMMITMENT TO ANOTHER DISTRICT
      a    12
                       The defendant has been ordered to appear in the Eastern District of California
           13
                The defendant may need an interpreterfor this language: n/a.
           14
      o
                       The defendant:          (X) will retain an attorney.
      o    15
     • ^                                       ( ) is requesting court-appointed counsel.
     Q     16
CO
^3     6               The defendant remains in custody after the initial appearance.
           17
       o               IT IS ORDERED: The United States Marshal must transport the defendant, together with
     2     18
                a copy ofthis order, to the charging district and deliver the defendant to the United States Marshal
           19
                for that district, or to another officerauthorized to receive the defendant. The Marshal or officer
           20
                of the charging district should immediately notify theUnited States Attorney and the Clerk of the
           21
                Clerk for that district of the defendant's arrival so that further proceedings may be promptly
           22
                scheduled. The Clerk of this district must promptlytransmit the papers to the charging district.
           23

           24
                Dated: September 18,2018


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           26                                                     THOMAS S. HIXSON
                                                                  United States Magistrate Judge
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